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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH


CHARVEL CLAWSON,

                      Plaintiff,
v.                                                ORDER GRATNING STIPULATED
                                                  MOTION TO DISMISS WITH
SMITH’S FOOD & DRUG CENTERS, INC.,                PREJUDICE
an Ohio corporation; JOHN DOES I – X; XYZ
corporations and/or limited liability companies
I –X,

                      Defendants.                 Case No. 2:17-cv-00008

                                                  District Judge Jill N. Parrish



       Before the Court is the Stipulated Motion to Dismiss with Prejudice (ECF No. 20).

Having reviewed the motion, and good cause appearing, the Court GRANTS the stipulated

motion to dismiss. Accordingly, it is ORDERED that the case is DISMISSED WITH

PREJUDICE.



Signed October 17, 2017

                                            BY THE COURT



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                                            Jill N. Parrish
                                            United States District Court Judge
